  Case: 2:22-cr-00041-JLG Doc #: 31 Filed: 07/11/22 Page: 1 of 1 PAGEID #: 153



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION

United States of America

     v.                                     2:22-cr-41

Brandon William Tvedt

                                    ORDER
     There being no objections, the court hereby adopts the
Report and Recommendation of the magistrate judge (Doc. 29) that
the defendant’s guilty plea be accepted.            The court accepts the
defendant’s plea of guilty to Count 1 of the Information, and he
is hereby adjudged guilty on those counts.            The court will defer
the decision of whether to accept the plea agreement until the
sentencing hearing.


Date: July 11, 2022                         s/ James L. Graham
                                            James L. Graham
                                            United States District Judge
